           Case 3:24-cv-00347-AN      Document 233   Filed 08/12/24   Page 1 of 6




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                                UNITED STATES DISTRICT COURT

                                    DISTRICT OF OREGON

                                     PORTLAND DIVISION

FEDERAL TRADE COMMISSION, STATE                Case No.: 3:24-cv-00347-AN
OF ARIZONA, STATE OF CALIFORNIA,
DISTRICT OF COLUMBIA, STATE OF                 DEFENDANTS’ NOTICE OF FILING
ILLINOIS, STATE OF MARYLAND, STATE             UNDER SEAL UNREDACTED VERSION
OF NEVADA, STATE OF NEW MEXICO,                OF DEFENDANTS’ RESPONSE TO
STATE OF OREGON, and STATE OF                  PLAINTIFFS’ MOTION FOR A
WYOMING,                                       PRELIMINARY INJUNCTION AND
                                               ACCOMPANYING EXHIBITS
                  Plaintiffs,

      v.

THE KROGER COMPANY and
ALBERTSONS COMPANIES, INC.,

                  Defendants.


Page 1 –      DEFENDANTS’ NOTICE OF FILING UNDER SEAL
           Case 3:24-cv-00347-AN        Document 233    Filed 08/12/24    Page 2 of 6




                             NOTICE OF FILING UNDER SEAL

       Defendants are filing today a response to Plaintiffs’ Motion for a Preliminary Injunction

(“Response”). Defendants’ Response references and quotes information that has been designated

as Confidential or Highly Confidential pursuant to the Stipulated Protective Order (“Protective

Order”) (ECF No. 97). The Response is also accompanied by certain exhibits designated as

Confidential or Highly Confidential under the Protective Order. Accordingly, pursuant to Section

11 of the Protective Order, Defendants hereby give notice that their Response and the following

exhibits are hereby filed under seal:

           DX 0090            DX 0454            DX 2283             DX 2736
           DX 0108            DX 0510            DX 2304             DX 2738
           DX 0143            DX 0523            DX 2308             DX 2739
           DX 0149            DX 0586            DX 2311             DX 2740
           DX 0149A           DX 0608            DX 2318             PX 2412
           DX 0149B           DX 0637            DX 2357             PX 4014
           DX 0149C           DX 0929            DX 2358             PX 4029
           DX 0149D           DX 0943            DX 2359             PX 4042
           DX 0149E           DX 0953            DX 2360             PX 4050
           DX 0149F           DX 1058            DX 2361             PX 4054
           DX 0149G           DX 1112            DX 2363             PX 4059
           DX 0149H           DX 1134            DX 2364             PX 4060
           DX 0149I           DX 1135            DX 2367             PX 4061
           DX 0206            DX 1187            DX 2375             PX 4064
           DX 0223            DX 1234            DX 2500             PX 4066
           DX 0301            DX 1290            DX 2501             PX 4072
           DX 0302            DX 1290A           DX 2502             PX 4076
           DX 0308            DX 1635            DX 2503             PX 4081
           DX 0315            DX 1674            DX 2503             PX 4097
           DX 0321            DX 1682            DX 2507             PX 4099
           DX 0323            DX 1727            DX 2509             PX 4104
           DX 0324            DX 1954            DX 2511             PX 4115
           DX 0333            DX 2041            DX 2512             PX 4128
           DX 0336            DX 2094            DX 2524             PX 4131
           DX 0338            DX 2213            DX 2525             PX 7004

Page 2 –      DEFENDANTS’ NOTICE OF FILING UNDER SEAL
           Case 3:24-cv-00347-AN        Document 233   Filed 08/12/24   Page 3 of 6




           DX 0346            DX 2219           DX 2528           PX 7006
           DX 0348            DX 2237           DX 2529           EX. A
           DX 0401            DX 2238           DX 2530           EX. B
           DX 0417            DX 2239           DX 2531           EX. C
           DX 0420            DX 2251           DX 2623
           DX 0425            DX 2257           DX 2625


       Further, pursuant to Section 11 of the Protective Order, an unredacted version of the

Response and exhibits to the Response that have not been designated Confidential or Highly

Confidential shall be filed publicly.




DATED: August 12, 2024




Page 3 –      DEFENDANTS’ NOTICE OF FILING UNDER SEAL
           Case 3:24-cv-00347-AN   Document 233   Filed 08/12/24   Page 4 of 6




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Page 4 –      DEFENDANTS’ NOTICE OF FILING UNDER SEAL
           Case 3:24-cv-00347-AN     Document 233   Filed 08/12/24   Page 5 of 6




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Page 5 –      DEFENDANTS’ NOTICE OF FILING UNDER SEAL
           Case 3:24-cv-00347-AN   Document 233   Filed 08/12/24    Page 6 of 6




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Page 6 –      DEFENDANTS’ NOTICE OF FILING UNDER SEAL
